979 F.2d 847
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frank Ervin ALTIZER, Jr., Plaintiff-Appellant,v.Lonnie SAUNDERS, Defendant-Appellee.
    No. 92-6972.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 26, 1992Decided:  November 17, 1992
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.
      Frank Ervin Altizer, Jr., Appellant Pro Se.
      William Rundahl Coleman, Office of the Attorney General of VIrginia, Richmond, Virginia, for Appellee.
      W.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and RUSSELL and WIDENER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Frank Ervin Altizer, Jr., appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Altizer v. Saunders, No. CA-91-808-R (W.D. Va.  Aug. 20, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    